       Case 1:15-cv-07433-LAP Document 1199-23 Filed 01/27/21 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                           15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                         Declaration Of Laura A. Menninger In Support Of
             Defendant’s Motion For Leave to File A Sur-Reply Or, Alternatively,
                 to Strike Plaintiff’s Misrepresentations of Fact to the Court


        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell in this action. I respectfully submit this Declaration in support of

Ms. Maxwell’s Motion for Leave to File A Sur-Reply Or, Alternatively, to Strike Plaintiff’s

Misrepresentations of Fact to the Court.

        2.       Attached as Exhibit A (filed under seal) are true and correct copies of excerpts

from the July 22, 2016 deposition of Ghislaine Maxwell, designated as Confidential under the

Protective Order.
Case 1:15-cv-07433-LAP Document 1199-23 Filed 01/27/21 Page 2 of 3
      Case 1:15-cv-07433-LAP Document 1199-23 Filed 01/27/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I certify that on August 25, 2016, I electronically served this Declaration Of Laura A.
Menninger In Support Of Defendant’s Motion for Leave to File A Sur-Reply Or, Alternatively, to
Strike Plaintiff’s Misrepresentations of Fact to the Court via ECF on the following:

Sigrid S. McCawley                              Paul G. Cassell
Meredith Schultz                                383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                  Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200          cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                J. Stanley Pottinger
Bradley J. Edwards                              49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,               South Salem, NY 10590
FISTOS & LEHRMAN, P.L.                          StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                /s/ Nicole Simmons
                                                Nicole Simmons




                                               3
